The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document has been entered electronically in
the record of the United States Bankruptcy Court for the Northern District of Ohio.




      Dated: June 4 2019



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

In Re:                                           )     Case No 18-33826
                                                 )
Taniel Patrice Sanders,                          )     Adv. Pro. No. 19-03008
                                                 )
                  Debtor,                        )     Judge John P. Gustafson
__________________________________               )
                                                 )
Taniel Patrice Sanders,                          )
                                                 )
                       Plaintiff,                )
                                                 )
         v.                                      )
                                                 )
FedLoan Servicing, et al.                        )
                                                 )
                       Defendants.               )

              ORDER ON JOINT MOTION TO WITHDRAW JURY DEMAND

         After considering the Joint Motion to Withdraw Jury Demand, the court orders that the

motion is: GRANTED.

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